         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                         No. 1D2023-3083
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ZACHARY ANTWANN LITTLETON,

    Petitioner,

    v.

STATE OF FLORIDA,

    Respondent.
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Petition for Writ of Mandamus—Original Jurisdiction.


                        August 21, 2024


PER CURIAM.

    As the circuit court directed a response to the motion pending
below, the Court denies the petition for writ of mandamus. See
Munn v. Fla. Parole Comm’n, 807 So. 2d 733 (Fla. 1st DCA 2002).

ROBERTS, BILBREY, and M.K. THOMAS, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Zachary Antwann Littleton, pro se, Petitioner.

Ashley Moody, Attorney General, and Trisha Meggs Pate, Bureau
Chief, Tallahassee, for Respondent.




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